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                                   UNITED STATES DISTRICT COURT
                                   FOR THE DISTRICT OF COLUMBIA


    UNITED STATES OF AMERICA,

                                                               Civil Action No. 1:21-cr-00537 (2) (JMC)
            v.

    JAMES TATE GRANT,

                              Defendant.


                                                      ORDER

           The Government alleges that James Tate Grant participated in the events of January 6,

2021, which delayed certification of the 2020 presidential election results, caused significant

damage to the U.S. Capitol, and injured multiple on-duty officers. See generally ECF 245 (Fourth

Superseding Indictment); ECF 257 at 2–3. On September 29, 2021, Grant was charged with

violations of 18 U.S.C. § 111(a)(1) and (b) (Assaulting, Resisting, or Impeding Certain Officers

Using a Dangerous Weapon or Inflicting Bodily Injury); 18 U.S.C. §§ 231(a)(3) and 2 (Civil

Disorder); 18 U.S.C. § 1512(c)(2) (Obstruction of an Official Proceeding); 18 U.S.C. §1752(a)(1)

(Entering and Remaining in a Restricted Building or Grounds); 18 U.S.C. § 1752(a)(2) (Disorderly

and Disruptive Conduct); 40 U.S.C. § 5104(e)(2)(C) (Entering and Remaining in Certain Rooms);

40 U.S.C. § 5104(e)(2)(D) (Disorderly Conduct), 40 U.S.C. § 5104(e)(2)(F) (Act of Physical

Violence), and 40 U.S.C. § 5104(e)(2)(G) (Parading, Demonstrating, or Picketing).1 ECF 1-1 at

13–14.




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    The allegations in the Fourth Superseding Indictment, ECF 245, have supplanted Grant’s initial charges.


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        Grant was arrested in North Carolina on October 14, 2021. ECF 5. At Grant’s initial

appearance, Magistrate Judge G. Michael Harvey released Grant to his parents’ home in North

Carolina and set the conditions of Grant’s release: Grant was ordered to submit to supervision by

the Probation Office; limit his travel; participate in a drug and alcohol abuse evaluation; not

possess a firearm; not use alcohol excessively; submit to drug testing; participate in substance

abuse counseling at the direction of pretrial services; and obey all federal, state, and local laws.

See ECF 9.

        Grant did not abide by the terms of his release. Twice he submitted urine samples that

tested positive for amphetamines. ECF 73 at 2. And on December 7, 2021, while he was on pretrial

release, Grant was arrested and charged with Driving While Impaired. Id. Allegedly, Grant was

extremely intoxicated and sitting in his car in a Denny’s parking lot when he flagged down an

officer responding to a call at the restaurant. Id. Grant refused to participate in field sobriety tests

and briefly attempted to flee before submitting to arrest. Id. In the back seat of Grant’s car, officers

found an AR-15 assault rifle, two loaded magazines, multiple rounds of ammunition, and fatigues

clothing. Id. Grant was charged with Driving While Impaired and his criminal case remains

pending in Wake County District Court. ECF 73.

        The Government moved to revoke Grant’s pretrial release in light of these violations and

Grant’s arrest and charges. ECF 77. The Court granted the motion after finding that all four factors

under 18 U.S.C. § 3142(g) indicated there was no combination of conditions that could ensure

Grant would not pose a danger to the community. Regarding the nature and circumstances of

Grant’s offense, the Court found that the severity of Grant’s conduct on January 6 put him in the

highest category of dangerousness among January 6 defendants. Transcript of Motions Hearing at




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36 (Jan. 18, 2022).2 The Court also found that video evidence supported the strength of the

evidence against Grant. Id. at 36–37. Finally, the Court determined that Grant’s criminal history—

which included two instances of driving while intoxicated by the time of the hearing—weighed

against him and indicated that his release would pose a danger to the community. Id. at 37–38.

Because Grant had violated his initial conditions of his release by failing two drug tests, possessing

firearms, consuming alcohol excessively, and violating state law, the Court also concluded that no

other conditions of release could ensure the safety of the community. Id. at 39–40.

        Against this backdrop, after more than fifteen months of detention, Grant seeks to be

released to his parents’ home in North Carolina. See generally ECF 256. He argues that the safety

of the community could be ensured through the combination of (1) home detention in Grant’s

parents’ home in North Carolina; (2) GPS monitoring; (3) restricting Grant’s access to electronic

devices; (4) daily check in with Pretrial Services; and (5) drug treatment and testing. Id. at 1–2.

Additionally, Grant’s father offered to serve as Grant’s custodian. Id. at 2.

        After careful consideration, the Court must deny Grant’s Motion. This Court has already

held that “there is no condition or combination of conditions of release that will assure that

Defendant will not pose a danger to the safety of any other person or the community.” ECF 86 at

1. While Grant has proposed conditions of release that are more stringent than his initial conditions,

he has not shown that the current circumstances justify departing from this Court’s prior decision

in which it found “that defendant is unlikely to abide by any condition or combination of conditions

of release.” Id. Simply put, Grant has not shown that he is likely to abide by any conditions of

release, no matter how stringent the conditions.3



2
 Citations to the motions hearing transcript reference a rough copy of the hearing transcript.
3
 The Government argues that, under 18 U.S.C. § 3142(f), detention decisions can be reconsidered only when a
defendant presents new information not known to the movant at the time of their initial detention decision. ECF 257


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         At the hearing held to discuss this Motion to Release, Grant argued that the current situation

is different from the circumstances that existed when Judge Kelly revoked Grant’s pretrial release.

First, he argued that Grant’s father, a former probation officer, could ensure that Grant would abide

by the conditions of his release. The Court credits the sincerity of Grant’s father and believes that

his background would be beneficial if he were assigned the responsibilities of a third-party

custodian. The Court does not doubt that Grant’s father would promptly notify the Court if there

were violations, but still, identifying violations is different from preventing them. Given that

Grant’s prior transgressions occurred while he was living at his parents’ house, the Court is not

convinced that Grant would abide by even these stringent conditions.

         Grant also suggested that his violations were due in part to his ongoing drug and alcohol

abuse. He contended that he detoxed while in detention and his sobriety would mitigate the risk of

future violations. Again, the Court credits the sincerity of these statements, and believes that a

demonstrated commitment to sobriety could weigh in favor of release. But as stated before, Grant’s

history of violations prevents the Court from concluding that Grant would abide by his conditions

of release and not pose a danger to the community.

         In the alternative to pretrial release, Grant asked for “temporary release” so that he could

more effectively prepare for trial with his counsel. Id. at 6–7. While the Court understands that

pretrial detention presents challenges that impair defendants’ ability to communicate with their

counsel, release for any reason is still contingent upon the safety of the community. And for the

reasons stated above, the Court is unable to determine that Grant’s release would not risk that




at 7–8. Other interpretations of the statute are possible. The statute could reasonably be understood to provide that
new information is a sufficient reason to revisit a prior order of pretrial detention, but not a necessary condition.
Because the Court finds that it is not necessary to resolve this statutory interpretation question to resolve this Motion,
the Court does not opine on it.


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safety. Additionally, the Government represented that the facility could accommodate Grant’s

need to review discovery during remote visits. To the extent that Grant is having difficulty

reviewing discovery, he may discuss with the Government what other accommodations are

possible.

        In short, Grant was released and given the opportunity to be in the community pending

trial. Unfortunately, he violated the conditions multiple times over, including by engaging in very

dangerous conduct (operating a vehicle and possessing firearms while intoxicated), which resulted

in him being arrested and charged for another crime while released awaiting trial in this case. The

Court afforded him a hearing and determined that no conditions of release could ensure community

safety in light of these very serious charges. There is no reason for the Court to revisit that decision

at this stage.

        Therefore, the Court hereby

        ORDERS that Defendant’s Motion for Bond on Home Detention and other Conditions of

Release, ECF 256, is DENIED.

        SO ORDERED.

        DATE: May 5, 2023



                                                                Jia M. Cobb
                                                                U.S. District Court Judge




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